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EXHIBIT A
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Attorneys for the United States of America

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

WESTERN DIVISION

UNITED STATES OF AMERICA, CASE NO.

Plaintiff,
vs.

STATE OF CALIFORNIA; THE
HONORABLE ARNOLD SCHWARZENEGGER,
Governor of the State of
California, in his official
capacity only; STEPHEN W. MAYBERG,

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STIPULATION FOR CONSENT
JUDGMENT AND AGREEMENT

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Director of the California
Department of Mental Health, in
his official capacity only;
SHARON SMITH NEVINS, Executive
Director of Metropolitan State
Hospital, in her official
capacity only; and DAVE GRAZIANI,
Executive Director of Napa

State Hospital, in his official
capacity only,

Defendants.

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IT IS’ HEREBY STIPULATED AND AGREED by the parties hereto as
follows: |

A. This Stipulation and the proposed Consent Judgment at
Exhibit "A" represent a complete settlement of this case, the
Complaint in which was filed contemporaneously herewith.

B. This matter was instituted by the United States of
America pursuant to the Civil Rights of Institutionalized Persons
Act, ("CRIPA") 42 U.S.C. § 1997.

C. The United States is authorized to institute this civil
action by 42 U.S.C. § 1997a and has met all prerequisites for the
institution of this civil action prescribed by the statute.

D. The parties to this Stipulation (collectively, "the
Parties") are the State of California ("State"); the Honorable
Arnold Schwarzenegger, Governor of the State of California;
Stephen W. Mayberg, Ph.D., Director of the California Department
of Mental Health; Sharon Smith Nevins, Executive Director of
Metropolitan State Hospital ("Metropolitan"); Dave Graziani,
Executive Director of Napa State Hospital ("Napa"), and their
successors, contractors, and agents (collectively, the
"California Parties" or "California"); and the United States (the

"United States" or "DOJ").

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E. This Court has jurisdiction over this action pursuant to
28 U.S.C. § 1345. Venue is appropriate pursuant to 28 U.S.C.

§ 1391(b). This Stipulation is governed by the laws of the
United States. The Parties agree that the exclusive jurisdiction
and venue for any dispute arising between and among the Parties
under this Stipulation will be the United States District Court
for the Central District of California.

F. The California Parties have authority and responsibility
for the operation of Metropolitan State Hospital, Napa State
Hospital, Patton State Hospital, and Atascadero State Hospital,
and of any facility that supplements or replaces these hospitals
(collectively, the "State Hospitals") and/or are officers of the
Executive Branch of the State of California.

G. The State Hospitals are institutions covered by CRIPA
and operated by the State to provide psychiatric treatment and
other protections, supports, and services to persons with mental
illness. The State has authority and responsibility for the
operation of the State Hospitals and is responsible for the
implementation of this Stipulation.

H. On March 21, 2002, the Attorney General of the United
States, by and through the Assistant Attorney General, Civil
Rights Division, notified the Governor of the State of
California, the Attorney General of the State of California, the
Executive Director of Metropolitan, and the Director of the
California Department of Mental Health, of his intention to
investigate allegations of unconstitutional and unlawful

conditions at Metropolitan pursuant to 42 U.S.C. § 1997.

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I. Following a thorough investigation, on May 13, 2003, and
on February 19, 2004, the Attorney General of the United States,
by and through the Assistant Attorney General, Civil Rights
Division, issued findings letters pursuant to 42 U.S.C.

§ 1997b (a) (1), which informed the Governor of the State of
California, the Attorney General of the State of California, the
Executive Director of Metropolitan, and the Director of the
California Department of Mental Health that the Attorney General
had reasonable cause to believe that persons residing in, or
confined to, Metropolitan were being subjected to conditions that
deprived them of their legal rights and of their rights,
privileges, and immunities secured by the Constitution of the
United States.

J. On January 26, 2004, the Attorney General of the United
States, by and through the Assistant Attorney General, Civil
Rights Division, notified the Governor of the State of
California, the Attorney General of the State of California, the
Executive Director of Napa, and the Director of the California
Department of Mental Health, of his intention to investigate
allegations of unconstitutional and unlawful conditions at Napa
pursuant to 42 U.S.C. § 1997,

K. Following a thorough investigation, on June 27, 2005,
the Attorney General of the United States, by and through the
Acting Assistant Attorney General, Civil Rights Division, issued
a findings letter pursuant to 42 U.S.C. § 1997b(a) (1), which
informed the Governor of the State of California, the Attorney
General of the State of California, the Executive Director of

Napa, and the Director of the California Department of Mental

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Health, that the Attorney General had reasonable cause to believe
that persons residing in or confined to Napa were being subjected
to conditions that deprived them of their legal rights and of
their rights, privileges, and immunities secured by the
Constitution of the United States.

L. On April 9, 2004, the Attorney General of the United
States, by and through the Assistant Attorney General, Civil
Rights Division, notified the Governor of the State of
California, the Attorney General of the State of California, the
Executive Director of Patton, and the Director of the California
Department of Mental Health, of his intention to investigate
allegations of unconstitutional and unlawful conditions at Patton
pursuant to 42 U.S.C. § 1997.

M. Following a thorough investigation, on the date hereof,
the Attorney General of the United States, by and through the
Assistant Attorney General, Civil Rights Division, issued a
findings letter pursuant to 42 U.S.C. § 1997b(a) (1), which
informed the Governor of the State of California, the Attorney
General of the State of California, the Executive Director of
Patton, and the Director of the California Department of Mental
Health that the Attorney General had reasonable cause to believe
that persons residing in, or confined to, Patton were being
subjected to conditions that deprived them of their legal rights
and of their rights, privileges, and immunities secured by the
Constitution of the United States.

N. on February 16, 2005, the Attorney General of the United
States, by and through the Assistant Attorney General, Civil

Rights Division, notified the Governor of the State of

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California, the Attorney General of the State of California, the
Executive Director of Atascadero, and the Director of the
California Department of Mental Health, of his intention to
investigate allegations of unconstitutional and unlawful
conditions at Atascadero pursuant to 42 U.S.C. § 1997.

O. Following a thorough investigation, on the date hereof,
the Attorney General of the United States, by and through the
Assistant Attorney General, Civil Rights Division, issued a
findings letter pursuant to 42 U.S.C. § 1997b(a) (1), which
informed the Governor of the State of California, the Attorney
General of the State of California, the Executive Director of
Atascadero, and the Director of the California Department of
Mental Health that the Attorney General had reasonable cause to
believe that persons residing in, or confined to, Atascadero were

being subjected to conditions that deprived them of their legal

rights and of their rights, privileges, and immunities secured by

the Constitution of the United States.

P. In accordance with 42 U.S.C. § 1997b, after the passage
of 49 days hereof, the United States shall file an amended
complaint to address its claims of unlawful conditions at Patton
and Atascadero, and to name those facilities' Executive Directors
as Defendants in this matter. With the amended complaint, the
United States shall file a motion to amend the proposed Consent
Judgment at Exhibit "A" hereto sO that the proposed Consent
Judgment applies with equal force and effect to Patton,
Atascadero, Metropolitan, and Napa. The California Parties shall

not oppose the United States’ motion to amend the proposed

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Consent Judgment at Exhibit "A" so that it applies with equal
force and effect to Patton, Atascadero, Metropolitan, and Napa.

Q. The conditions of confinement, care, treatment, and
rehabilitation of the State Hospitals' residents ("residents")
implicate rights that are secured and protected by the
Constitution and laws of the United States. The Parties entering
into this Stipulation recognize these legal interests, and for
the purpose of avoiding protracted and adversarial litigation,
agree to the provisions set forth herein.

R. The provisions of this Stipulation and the proposed
Consent Judgment at Exhibit "A" are a lawful, fair, and
appropriate resolution of this case.

S. This Stipulation is legally binding and judicially
enforceable by the Parties, and it shall be applicable to and
binding upon all of the Parties, their officers, agents,
employees, assigns, transferees, subsidiaries, and successors.

T. With the exception of the findings letters referenced in
paragraphs I, K, M, and O hereof, and any technical assistance
recommendations by the United States regarding facility
conditions, no prior or contemporaneous communications, oral or
written, shall be relevant or admissible for purposes of
determining the meaning of any provisions herein. This
Stipulation and the proposed Consent Judgment at Exhibit "A"
contain the entire agreement between the Parties and wholly
cancel, terminate, and supersede any and all previous and/or

contemporaneous oral agreements, negotiations, and commitments

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and writings between the Parties thereto with respect to this
CRIPA action.

U. Pursuant to a separate Settlement Agreement executed on
the date hereof, between the United States and the State, the
Parties have agreed that entry of the proposed Consent Judgment
at Exhibit “A” shall also resolve a contemporaneous investigation
by the United States Department of Justice related to
Medicare/Medicaid claims at Metropolitan.

V. After notification of the initial CRIPA investigation of
Metropolitan in 2002, and continuing from time to time
thereafter, the State voluntarily undertook initiatives to
address outstanding concerns with regard to the protections,
services, and supports provided at the State Hospitals.
California and its officials have acted in good faith and have
voluntarily undertaken significant measures to enhance
confinement, care, treatment, and rehabilitation for residents.

W. The Parties jointly have agreed upon the Enhancement
Plan (the "Plan"), to address outstanding concerns that affect or
have affected the State Hospitals' residents. The provisions of
the Plan are set forth in their entirety in the proposed Consent
Judgment in Exhibit "A" attached hereto.

X. The specific means to be employed in implementing the
Plan are matters within the California Parties' discretion, and
they shall be accepted so long as they are consistent with the
purpose of this Stipulation and the Plan, the purpose of which is

to secure the rights, privileges, and immunities of the State

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Hospital residents that are protected by the Constitution of the
United States and federal laws.

Y. The Parties reserve the right to withdraw consent to
this Stipulation in the event that the proposed Consent Judgment
at Exhibit "A" is not approved by the Court in its entirety.

zZ. The Parties agree that any records produced pursuant to
this Stipulation and the proposed Consent Judgment at Exhibit "A"
may be shared only with the following:

(1) the Court, including public submissions and filings;

(2) the Monitor, persons assisting the Monitor, and any
expert (s) or consultant(s) selected or retained by the Parties
pursuant to this Stipulation and the proposed Consent Judgment at
Exhibit "A";

(3) all counsel of record in this matter;

(4) staff and clerical personnel involved in the
preparation, and review of, the submissions and reports for
counsel of record; and

(5) United States and other governmental officials, as
necessary, in order to carry out law enforcement
responsibilities.

Notwithstanding the foregoing, the United States shall adhere to
the requirements of federal law, including the Freedom of
Information Act..("FOIA"), 5 U.S.C. § 552, and the State shall
adhere to state law, including the state Public Records Act
("PRA"), Cal. Gov't Code § 6254, et seq. In the event of a
request pursuant to FOIA or the PRA for records produced pursuant
to this Stipulation, the Parties agree to assert all applicable

exemptions in protecting the confidentiality of information

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contained therein. All Parties shall be responsible for
maintaining the confidentiality of records in their possession.
Submissions to the Court that contain identifying information of
residents (such as their full name, address, or social security
number) shall be filed with the Court using pseudonyms or the
residents! initials.

AA. All Parties shall bear their own costs, including
attorney's fees.

BB. The Parties agree to defend the provisions of this
Stipulation and the proposed Consent Judgment at Exhibit "A".

The Parties shall notify each other of any court or
administrative challenge to this Stipulation or the proposed
Consent Judgment at Exhibit "A". In the event any provision of
this Stipulation or the proposed Consent Judgment at Exhibit "A"
is challenged in any local or state court, removal to the United
States District Court for the Central District of California
shall be sought.

CC. Failure by any Party to enforce this entire Stipulation
and the proposed Consent Judgment at Exhibit "A" or any provision
thereof with respect to any deadline or any other provision shall
not be construed as a waiver of its right to enforce other
deadlines or provisions. In the event any provision of this
Stipulation and the proposed Consent Judgment at Exhibit "A" is
declared invalid for any reason by a court of competent
jurisdiction, said finding shall not affect the remaining
provisions of this Stipulation or the proposed Consent Judgment

at Exhibit "A".

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DD. If any unforeseen circumstance occurs that causes a
failure to timely carry out any requirements of this Stipulation
and the proposed Consent Judgment at Exhibit "A" the California
Parties shall notify the Monitor and the United States in writing
within thirty (30) calendar days of the time that the California
Parties become aware of the unforeseen circumstance and its
impact on their ability to perform under the Agreement. The
notice shall describe the cause of the failure to perform and the
measures taken to prevent or minimize the failure. The
California Parties shall implement all reasonable measures to
avoid or minimize any such failure.

EE. Notice under this Stipulation and the proposed Consent
Judgment at Exhibit "A" shall be provided by courier or overnight
delivery to the California Parties to:

Chief Counsel,

California Department of Mental Health
1600 9th Street, Room 153
Sacramento, CA 95814

and to the United States to:

Chief

Special Litigation Section

Civil Rights Division

United States Department of Justice
601 D Street, N.W. _

Washington, D.C. 20004

FF. The California Parties will comply at all times with
42 U.S.C. § 1997d.

GG. It is intended that the Parties will pursue a
problem-solving approach so that litigation will not be necessary

and any disagreements can be minimized and the energies of the

Parties can be focused on the task of meeting the needs of the

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residents and achieving the outcomes set forth in this
Stipulation and the proposed Consent Judgment at Exhibit "A",

The Parties, notably two governmental agencies exercising their
expertise, intend to work together to resolve differences. The
Parties will look to the Monitor to assist in measuring
compliance and providing assistance toward this goal and in
furtherance of the Parties' goals in reaching this Agreement. It
is the intention of the Parties that there be no Special Master
assigned to this case. The United States agrees to confer with
the State in a good faith effort to attempt to reach agreement
regarding remedy of the alleged deficiencies. The United States
may seek enforcement of this Stipulation and the proposed Consent
Judgment at Exhibit "A" from the Court consistent with this
Stipulation and the proposed Consent Judgment at Exhibit "A" if
the United States determines, in its sole discretion, that
engaging in further good faith discussions with the State is
fruitless. :

HH. The individuals signing this Stipulation on behalf of
the California Parties represent and warrant that they are
authorized by such Parties to execute this Stipulation. The
United States signatories represent that they are signing this
Stipulation in their official capacities and that they are
authorized to execute this Stipulation.

II. This Stipulation may be executed in counterparts, each
of which constitutes an original and all of which constitute one
and the same agreement. Facsimiles of signatures shall
constitute acceptable, binding signatures for purposes of this

Stipulation.

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JJ. The Parties stipulate and agree that a Consent Judgment

in the form of Exhibit "A" attached hereto may be entered

immediately without further notice or hearing.

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DATED: =‘ This Zo aay of dyed , 2006.
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J. KIM
Assist At y General

A Y¥. CUTLAR
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Chief, Civil Fraud Section

HOWARD DANIELS (CA Bar No. 081764)
Assistant United States Attorney

of 41

2 DATED: This /-~ day of Haw , 2006.
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5 , KIMBERLY BELSHE

Secretary, State of California
6 Health and Human Services Agency

9 ‘FRANK S. |) FURTEK
Chie# Counsel, State of California
10 Heaith a man Services Agency

13 STEPHEN W. YBERG . ™~\
Director, CaNiforni partm
14 of Mental Health

A fl ee.
CYNTHIA RODE
Chief Counsel, Califorrfia
18 Department of Mehtal Health

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Attorneys for the United States of America
UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

WESTERN DIVISION

UNITED STATES OF AMERICA, CASE NO.

Plaintiff,
vs.

)
)
)
)
)
STATE OF CALIFORNIA; THE )
HONORABLE ARNOLD SCHWARZENEGGER, )
Governor of the State of )
California,’ in his official )
capacity only; STEPHEN W. MAYBERG, )
Director of the California )
Department of Mental Health, in )
his official capacity only; )

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CONSENT JUDGMENT

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1 |SHARON SMITH NEVINS, Executive )
Director of Metropolitan )
2 [State Hospital, in her )
official capacity only; and DAVE )
3 }GRAZIANI, Executive Director of )
Napa State Hospital, in his )
4 }iofficial capacity only, )
Defendants. }

)

6 Simultaneously herewith, Plaintiff, the United States of
7 America filed a Complaint under the provisions of 42 U.S.C.
8S 1997 against the Defendants, seeking to remedy an alleged
9}pattern or practice of conduct that was alleged to deprive
10 [patients of Metropolitan State Hospital, in Norwalk, California,
11 jjand Napa State Hospital, in Napa, California (collectively, and
12 including any facility that supplements or replaces them, the
13 "State Hospitals") of rights, privileges, and immunities secured
14 Jor protected by the Constitution or laws of the United States.
15 }On the same date, the Parties in this matter filed a Stipulation
16 |for Consent Judgment and Agreement ("Stipulation") .
17 Noting the general principle that settlements are to be
18 }encouraged, particularly settlements between governmental
19 entities, and having considered the Stipulation and the terms of
20 the measures, set forth herein, that the Defendants agree to
21 undertake to improve conditions at the State Hospitals, it is
22 ORDERED, ADJUDGED AND DECREED that pursuant to the Stipulation,
23 and good and reasonable cause appearing therefore, Judgment shall
24 be entered in this matter pursuant to the following terms and

25 conditions:

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PART I

ENHANCEMENT PLAN

Filed 05/09/06

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A. Definitions
1, Effective Date
The Effective Date will be considered the first day of
the month following the date of execution of the agreement
by all parties. Unless otherwise specified, implementation
of each provision of this Plan shall begin no later than 12
months after the Effective Date.
2. Consistent With Generally Accepted Professional
Standards of Care
A decision by a qualified professional that is
substantially aligned with contemporary, accepted
professional judgment, practice, or standards as to
demonstrate that the person responsible based the decision
on such accepted professional judgment.
B. Introduction
Each State Hospital shall use a Recovery philosophy of care
and a Psychiatric Rehabilitation model of service delivery.
Therapeutic and rehabilitative services provided by each State
Hospital shall be based on evidence-based practices and
practice-based evidence, shall be age-appropriate, and shall be
designed to: strengthen and support individuals' recovery,
rehabilitation, and habilitation; enable individuals to grow and
develop in ways benefitting their mental health, physical health,
and well being; and ensure individuals' reasonable safety,
security, and freedom from undue bodily restraint. Relationships
between each State Hospital’s staff and the individuals whom they

serve shall be positive, therapeutic, and respectful.

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Each individual served by each State Hospital shall be
encouraged to participate in identifying his or her needs and
goals, and in selecting appropriate treatment options.
Therapeutic and rehabilitation services shall be designed to
address each individual's needs and to assist individuals in
meeting their specific recovery and wellness goals, consistent
with generally accepted professional standards of care. Each
State Hospital shall ensure clinical and administrative
oversight, education, and support of its staff in planning and
providing care and treatment consistent with these standards.

Cc. Integrated Therapeutic and Rehabilitation Services Planning

Each State Hospital shall provide coordinated,
comprehensive, individualized protections, services, supports,
and treatments (collectively "therapeutic and rehabilitation
services") for the individuals it serves, consistent with
generally accepted professional standards of care. In addition
to implementing the therapeutic and rehabilitation planning
provisions set forth below, each State Hospital shall establish
and implement standards, policies, and practices to ensure that
therapeutic and rehabilitation service determinations are
consistently made by an interdisciplinary team through integrated
therapeutic and rehabilitation service planning and embodied in a
single, integrated therapeutic and rehabilitation service plan.

1. Interdisciplinary Teams

The interdisciplinary team's membership shall be
dictated by the particular needs and strengths of the

individual in the team's care. At a minimum, each State

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Hospital shall ensure that the team shall:

a.

Have as its primary objective the provision of
individualized, integrated therapeutic and
rehabilitation services that optimize the
individual's recovery and ability to sustain
himself/herself in the most integrated,
appropriate setting based on the individual's
strengths and functional and legal status and
support the individual's ability to exercise
his/her liberty interests, including the interests
of self determination and independence;

Be led by a clinical professional who is involved
in the care of the individual;

Function in an interdisciplinary fashion;

Assume primary responsibility for the individual's
therapeutic and rehabilitation services, and
ensure the provision of competent, necessary, and
appropriate psychiatric and medical care;

Ensure that each member of the team participates
appropriately, by competently and knowledgeably
assessing the individual on an ongoing basis and
by developing, monitoring, and, as necessary,
revising the therapeutic and rehabilitation
services;

Ensure that assessment results and, as clinically
relevant, consultation results, are communicated

to the team members, along with the implications

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of those results for diagnosis, therapy and
rehabilitation by no later than the next review;
Be responsible for the scheduling and coordination
of assessments and team meetings, the drafting of
integrated treatment plans, and the scheduling and
coordination of necessary progress reviews;
Consist of a stable core of members, including at
least the individual served; the treating
psychiatrist; the treating psychologist; the
treating rehabilitation therapist; the treating
social worker; the registered nurse and
psychiatric technician who know the individual
best; one of the individual's teachers (for
school-age individuals); and, as appropriate, the
individual's family, guardian, advocates,
attorneys, and the pharmacist and other staff;

Not include any core treatment team members with a
case load exceeding 1:15 in admission teams (new
admissions of 90 days or less) and, on average,
1:25 in all other teams at any point in time; and
Not include staff that is not verifiably competent
in the development and implementation of

interdisciplinary treatment plans.

therapeutic and rehabilitation service plans,

Integrated Therapeutic and Rehabilitation Service
Planning.

Each State Hospital shall develop and implement

policies and protocols regarding the development of

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referred to as

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"Wellness and Recovery Plans" ("WRP") consistent with

generally accepted professional standards of care, to ensure

that:

Cc.

Individuals have substantive input into the

therapeutic and rehabilitation service planning

process, including but not limited to input as to

mall groups and therapies appropriate to their

WRP.

Therapeutic and rehabilitation service planning

provides timely attention to the needs of each

individual, in particular:

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initial therapeutic and rehabilitation
service plans (Admission Wellness and
Recovery Plan ("A-WRP")) are completed within
24 hours of admission;

master therapeutic and rehabilitation service
pians (WRP) are completed within 7 days of
admission; and

therapeutic and rehabilitation service plan
reviews are performed every 14 days during
the first 60 days of hospitalization and
every 30 days thereafter. The third monthly
review is a quarterly review and the 12th

monthly review is the annual review.

Treatment, rehabilitation, and enrichment services

are goal-directed, individualized, and informed by

a thorough knowledge of the individual's

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psychiatric, medical, and psychosocial history and
previous response to such services.

d. Therapeutic and rehabilitation service planning is
based on a comprehensive case formulation for each
individual that emanates from interdisciplinary
assessments of the individual consistent with
generally accepted professional standards of care.

Specifically, the case formulation shall:

be derived from analyses of the information
gathered from interdisciplinary assessments,
including diagnosis and differential
diagnosis;

include a review of: pertinent history;
predisposing, precipitating and perpetuating
factors; previous treatment history; and
present status;

consider biomedical, psychosocial, and
psychoeducational factors, as clinically
appropriate, for each category in § C.2.d.ii
above;

consider such factors as age, gender,
culture, treatment adherence, and medication
issues that may affect the outcomes of
treatment and rehabilitation interventions;
support the diagnosis by diagnostic
formulation, differential diagnosis, and
Diagnostic and Statistical Manual-IV-TR (or

the most current edition) checklists; and

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vi. enable the interdisciplinary team to reach
sound determinations about each individual's
treatment, rehabilitation, enrichment and
wellness needs, the type of setting to which
the individual should be discharged, and the
changes that will be necessary to achieve
discharge.

The therapeutic and rehabilitation service plan

specifies the individual's focus of

hospitalization (goals), assessed needs

(objectives), and how the staff will assist the

individual to achieve his or her goals/objectives

(interventions).

Therapeutic and rehabilitation service planning is

driven by individualized needs, is strengths-based

(i.e., builds on an individual's current

strengths), addresses the individual's motivation

for engaging in wellness activities, and leads to
improvement in the individual's mental health,
physical health, and well being, consistent with
generally accepted professional standards of care.

Specifically, the interdisciplinary team shall:

i. develop and prioritize reasonable and
attainable goals/objectives (e.g., at the
level of each individual's functioning) that
build on the individual's strengths and

address the individual's identified needs

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and, if any identified need is not addressed,
provide a rationale for not addressing the
need;

ensure that the objectives/interventions
address treatment (e.g., for a disease or
disorder), rehabilitation’ (e.g.,
skills/supports, motivation and readiness),
and enrichment (e.g., quality of life
activities);

write the objectives in behavioral,
observable, and/or measurable terms;

include all objectives from the individual's
current stage of change, or readiness for
rehabilitation, to the maintenance stage for
each focus of hospitalization, as clinically
appropriate;

ensure that there are interventions that
relate to each objective, specifying who will
do what, within what time frame, to assist
the individual to meet his/her needs as
specified in the objective;

implement interventions appropriately
throughout the individual's day, with a
minimum of 20 hours of active treatment per
week. Individual or group therapy included
in the individual’s WRP shall be provided as
part of the 20 hours of active treatment per

week;

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1 vii. maximize, consistent with the individual's

2 treatment needs and legal status,

3 opportunities for treatment, programming,

4 schooling, and other activities in the most

5 appropriate integrated, non-institutional

6 settings, as clinically appropriate; and

7 viii. ensure that each therapeutic and

8 rehabilitation service plan integrates and

9 coordinates all services, supports, and

10 treatments provided by or through the State
11 Hospital for the individual in a manner

12 specifically responsive to the plan's

13 therapeutic and rehabilitation goals. This
14 requirement includes, but is not limited to,
15 ensuring that individuals are assigned to
16 mall groups that link directly to the

17 objectives of the individual’s treatment plan
18 and needs;

19 g- Therapeutic and rehabilitation service plans are
20 revised as appropriate to ensure that planning is
21 based on the individual's progress, or lack
22 thereof, as determined by the scheduled monitoring
23 of identified criteria or target variables,
24 consistent with generally accepted professional
25 standards of care. Specifically, the
26 “" interdisciplinary team shall:
27 i. revise the focus of hospitalization
28 objectives, as needed, to reflect the

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individual's changing needs and develop new
interventions to facilitate attainment of new
objectives when old objectives are achieved
or when the individual fails to make progress
toward achieving these objectives;

review the focus of hospitalization, needs,
objectives, and interventions more frequently
if there are changes in the individual's
functional status or risk factors (i.e.,
behavioral, medical, and/or psychiatric risk
factors);

ensure that the review process includes an
assessment of progress related to discharge
to the most integrated setting appropriate to
meet the individual's assessed needs,
consistent with his/her legal status; and
base progress reviews and revision
recommendations on data collected as
specified in the therapeutic and

rehabilitation service plan.

h. Individuals in need of positive behavior supports
in school or other settings receive such supports
consistent with generally accepted professional
standards of care.

i. Adequate active psychosocial rehabilitation is

provided, consistent with generally accepted

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professional standards of care, that:

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is based on the individual's assessed needs
and is directed toward increasing the
individual's ability to engage in more
independent life functions;

has documented objectives, measurable
outcomes, and standardized methodology;

is aligned with the individual's objectives

that are identified in the individual's WRP; .-

utilizes the individual's strengths,

preferences, and interests;

focuses on the individual's vulnerabilities
to mental illness, substance abuse, and
readmission due to relapse, where
appropriate;

is provided in a manner consistent with each
individual's cognitive strengths and
limitations;

provides progress reports for review by the
Interdisciplinary Team as part of the WRP
review process;

is provided 5 days a week, for a minimum of 4
hours a day (i.e., 2 hours in the morning and
2 hours in the afternoon each weekday), for
each individual or 2 hours a day when the
individual is in school, except days falling

on state holidays;

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ix. is provided to individuals in bed-bound
status in a manner and for a period that is
commensurate with their medical status;

Xx. routinely takes place as scheduled;

xi. includes, in the evenings and weekends,
additional activities that enhance the
individual's quality of life; and

xii. is consistently reinforced by staff on the
therapeutic milieu, including living units.

j. Adequate individualized and group exercise and
recreational options are provided, consistent with
generally accepted professional standards of care.

k. Individuals who have an assessed need for family
therapy services receive such services in their
primary language, as feasible, consistent with
generally accepted professional standards of care
and that these services, and their effectiveness
for addressing the indicated problem, are
comprehensively documented in each individual's
chart.

1. Each individual's therapeutic and rehabilitation
service plan identifies general medical diagnoses,
the treatments to be employed, the related symptoms
to be monitored by nursing staff (i.e., registered
nurses ("RNs"), licensed vocational nurses
("LVNs"), and psychiatric technicians) and the

means and frequency by which such staff shall

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monitor such symptoms, consistent with generally
accepted professional standards of care.
Children and adolescents receive, consistent with
generally accepted professional standards of care:
i. therapy relating to traumatic family and
other traumatic experiences, as clinically
indicated; and
ii. reasonable, clinically appropriate
opportunities to involve their families in
treatment and treatment decisions.
Policies and procedures are developed and
implemented consistent with generally accepted
professional standards of care to ensure
appropriate screening for substance abuse, as
clinically indicated.
Individuals who require treatment for substance
abuse are provided appropriate therapeutic and
rehabilitation services consistent with generally
accepted professional standards of care.
Group facilitators and therapists providing
therapeutic and rehabilitation services (in groups
or individual therapy) are verifiably competent
regarding selection and implementation of
appropriate approaches and interventions to address
therapeutic and rehabilitation service objectives,
are verifiably competent in monitoring individuals'
responses to therapy and rehabilitation, and

receive regular, competent supervision.

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Group facilitators and therapists providing
therapeutic and rehabilitation services in the
field of substance abuse should be certified
substance abuse counselors.

Transportation and staffing issues do not preclude
individuals from attending appointments.

Adequate oversight to treatment, rehabilitation,
and enrichment groups is provided to ensure that
individuals are assigned to groups that are
appropriate to their assessed needs, that groups
are provided consistently and with appropriate
frequency, and that issues particularly relevant
for this population, including the use of
psychotropic medications and substance abuse, are
appropriately addressed, consistent with generally
accepted professional standards of care.
Treatment, rehabilitation, and enrichment services
are monitored appropriately against rational,
operationally-defined target variables and revised
as appropriate in light of significant
developments, and the individual's progress, or
lack thereof.

Individuals are educated regarding the purposes of
their treatment, rehabilitation, and enrichment
services. They will be provided a copy of their
WRP when appropriate based on clinical judgment.
Staff educate individuals about their medications,

the expected results, and the potential common

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and/or serious side effects of medications, and
staff regularly ask individuals about common and/or
serious side effects they may experience.

w. Interdisciplinary teams review, assess, and develop
positive clinical strategies to overcome
individual's barriers to participation in
therapeutic and rehabilitation services.

D. Integrated Assessments

Each State Hospital shall ensure that, consistent with
generally accepted professional standards of care, each
individual shall receive, promptly after admission to the State
Hospital, an accurate and comprehensive assessment of the
conditions responsible for the individual's admission, to the
degree possible given the obtainable information at the time of
admission. Thereafter, each individual shall receive an accurate
and comprehensive reassessment of the reasons for the
individual's continued hospitalization whenever there has been a
significant change in the individual's status, or a lack of
expected improvement resulting from clinically indicated
treatment. The individual's interdisciplinary team shall be
responsible for investigating the past and present medical,
nursing, psychiatric, and psychosocial factors bearing on the
individual's condition, and, when necessary, for revising
assessments and therapeutic and rehabilitation plans in
accordance with new information that comes to light. Each State
Hospital shall monitor and promptly address deficiencies in the

quality and timeliness of such assessments.

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1. Psychiatric Assessments and Diagnoses

Each State Hospital shall provide all of the
individuals it serves with routine and emergency psychiatric
assessments and reassessments consistent with generally
accepted professional standards of care; and:

a. Each State Hospital shall use the diagnostic
criteria in the most current Diagnostic and
Statistical Manual of Mental Disorders ("DSM") for
reaching the most accurate psychiatric diagnoses.

b. Each State Hospital shall ensure that all
psychiatrists responsible for performing or
reviewing psychiatric assessments:

i. are certified by the American Board of
Psychiatry and Neurology ("ABPN") or have
successfully completed at least three years
of psychiatric residency training in a
Accreditation Counsel for Graduate Medical
Education accredited program; and

ii. are verifiably competent (as defined by
privileging at initial appointment and
thereafter by reprivileging for continued
appointment) in performing psychiatric
assessments consistent with the State
Hospital's standard diagnostic protocols.

c. Each State Hospital shall ensure that:

i. within 24 hours of an individual's admission

to the State Hospital, the individual

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1 receives an Admission Medical Assessment that
2 includes:
3 1) a review of systems;
4 2) medical history;
5 3) physical examination;
6 4) diagnostic impressions; and
7 5) management of acute medical conditions.
8 di. within 24 hours of an individual's admission
9 to the State Hospital, the individual
10 receives an Admission Psychiatric Evaluation
11 that includes:
12 1) psychiatric history, including a review
13 of presenting symptoms;
14 2) complete mental status examination;
15 3) admission diagnoses;
16 4) completed AIMS;
17 5) laboratory tests ordered; and
18 6) consultations ordered.
19 iii. Within 7 days of an individual's admission to
20 the State Hospital, the individual receives
21 an Integrated Psychiatric Assessment that
22 includes:
23 1) psychiatric history, including a review
24 of present and past history;
25 . 2) psychosocial history;
26 ." 3) mental status examination;
27 4) strengths;
28 5) psychiatric risk factors;
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d.

6) diagnostic formulation;
7) differential diagnosis;
8) current psychiatric diagnoses;

9) psychopharmacology treatment plan; and

10) management of identified risks.

Bach State Hospital shall ensure that:

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clinically justifiable diagnoses are provided
for each individual, and all diagnoses that
cannot be clinically justified for an
individual are discontinued no later than the
next review;

the documented justification of the diagnoses
is in accord with the criteria contained in
the most current DSM (as per DSM-IV-TR
Checklist};

differential diagnoses, "deferred," or
“rule-out" diagnoses, and diagnoses listed as
"NOS" ("Not Otherwise Specified") are timely
addressed (i.e., within 60 days), through
Clinically appropriate assessments, and
resolved in a clinically justifiable manner;
and

"no diagnosis" is clinically justified and

documented.

Each State Hospital shall ensure that psychiatric

reassessments are conducted at a frequency that

reflects the individual's clinical needs. Ata

minimum the reassessments are completed weekly for

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1 the first 60 days on the admissions units and
2 monthly on other units.
3 Bach State Hospital shall ensure that psychiatric
4 reassessments are documented in progress notes that
5 address the following:
6 i. significant developments in the individual's
7 clinical status and appropriate psychiatric
8 follow up;
9 ii. timely and justifiable updates of diagnosis
10 and treatment, as clinically appropriate;
11 iii. analyses of risks and benefits of chosen
12 treatment interventions;
13 iv. assessment of, and attention to, high-risk
14 behaviors (e.g., assaults, self-harm, falls)
15 including appropriate and timely monitoring
16 of individuals and interventions to reduce
17 visks;
18 Vv. responses to and side effects of prescribed
19 medications, with particular attention to
20 risks associated with the use of
21 benzodiazepines, anticholinergic medications,
22 polypharmacy (use of multiple drugs to
23 address the same condition), and conventional
24 and atypical antipsychotic medications;
25 vi. timely review of the use of "pro re nata" or
26 "as-needed" ("PRN") and "Stat" (i-.e.,
27 emergency psychoactive) medications and
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adjustment of regular treatment, as
indicated, based on such use; and
verification, in a clinically justifiable
manner, that psychiatric and behavioral
treatments are properly integrated. The
psychiatrist shall review the positive
behavior support plan prior to implementation
to ensure consistency with psychiatric
formulation, document evidence of regular
exchange of data or information with
psychologists regarding differentiation of
learned behaviors and behaviors targeted for
psychopharmacological treatments, and
document evidence of integration of

treatments.

g.- When individuals are transferred between treatment

teams, a psychiatric transfer note shall be

completed addressing: review of medical and

psychiatric course of hospitalization, including

medication trials; current target symptoms;

psychiatric risk assessment; current barriers to

discharge; and anticipated benefits of transfer.

2. Psychological Assessments

a. Each State Hospital shall develop and implement

standard psychological assessment protocols,

consistent with generally accepted professional

standards of care. These protocols shall address,

at a minimum, diagnostic neuropsychological

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assessments, cognitive assessments, and
I.Q./achievement assessments, to guide
psychoeducational (e.g., instruction regarding the
illness or disorder, and the purpose or objectives
of treatments for the same, including medications),
educational, rehabilitation, and habilitation
interventions, and behavioral assessments
(including functional assessment of behavior in
schools and other settings), and personality
assessments, to inform positive behavior support
plans and psychiatric diagnoses.

Each State Hospital shall require the completion of
cognitive and academic assessments within 30 days
of admission of all school-age and other
individuals, as required by law, unless comparable
testing has been performed within one year of
admission and is available to the interdisciplinary
team.

Each State Hospital shall ensure that all
clinicians responsible for performing or reviewing
psychological assessments and evaluations are
verifiably competent in the methodology required to
conduct the assessment.

Each State Hospital shall ensure that all
psychological assessments, consistent with
generally accepted professional standards of care,

shall:

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expressly state the clinical question(s) for
the assessment;

include findings specifically addressing the
clinical question(s), but not limited to
diagnoses and treatment recommendations;
specify whether the individual would benefit
from individual therapy or group therapy in
addition to attendance at mall groups;

be based on current, accurate, and complete
data;

determine whether behavioral supports or
interventions (e.g., behavior guidelines or
mini-behavior plans) are warranted or whether
a full positive behavior support plan is
required;

include the implications of the findings for
interventions; -

identify any unresolved issues encompassed by
the assessment and, where appropriate,
specify further observations, records review,
interviews, or re~evaluations that should be
performed or considered to resolve such
issues; and

Use assessment tools and techniques
appropriate for the individuals assessed and
in accordance with the American Psychological
Association Ethical Standards and Guidelines

for testing.

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